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                            Victim Impact Statement

Your Name:


Case#: 1:21-cr-00738


Defendant’s Name: Oliveras, Michael


Sentencing Date:     10/3/24


To the Honorable Judge


There have only been a few days I can say I was embarrassed to be an American, but
January 6th, 2021 tops the list by far. The actions of the rioters that day were nothing
short of a personal and national embarrassment. Hearing the events of January 6th
minimized and characterized as a mostly peaceful protest in the media and by defendants
and their lawyers during the trials I have been a part of is a slap in the face to all of the
law enforcement officers who were there at the Capitol that day. That day was the most
disturbing and violent day I have experienced in my ten years as a police officer. The
rioters’ perversion of the words patriotism and justice still bother me to this day. There is
nothing patriotic about breaking into the Capitol building and trashing it, or assaulting
police officers who have arrived to disperse the crowd. Nor are these the actions of
“peaceful protesters”. So I choose my words carefully when I refer to the defendant and
his comrades as rioters. Thankfully, I was not injured on January 6t, so I write this letter
on behalf of all of the police officers who were with me that day. On that day, I witnessed
officers struck in the head by all types of projectiles, punched, kicked, knocked to the
ground, pepper sprayed, called racial slurs, and have their lives and families lives
threatened. Being only a few feet away from where the defendant Michael Oliveras was
located, I can assure you it was a violent and brutal struggle that went on for hours. And
it was all unnecessary. The rioters had ample time and room to leave if they did not desire
a violent fight with law enforcement. There is no way any reasonable adult could be there,
see what was happened, and not realize they should leave. The delusion showed by all
of the rioters, including the defendant, and the complete minimization and lack of
responsibility taken for the heinous events gives me little faith that an event similar to this
wouldn’t happen again following an election. My wife, mother, father, and brother were
forced to watch everything unfold on TV, knowing I was there, with no way to contact me
and know if I was safe until early the next morning when we were finally able to leave the
Capitol. I also find myself uncomfortable in and avoiding of large crowds in the wake of
this event. In terms of sentencing, I will defer to Your Honor, and trust that the defendant
will receive a sentence commensurate with their actions during this heinous event. I
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appreciate the court for allowing me to be heard and am sorry I could not be present in
person.

Respectfully,
